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 PROB 12C                                                                          Report Date: September 23, 2020
(6/16)

                                        United States District Court                                     FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                                Sep 23, 2020
                                        Eastern District of Washington                              SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Andrew Vincent Auerbach                   Case Number: 0980 2:16CR00093-WFN-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: January 10, 2017
 Original Offense:        Felon in Possession of a Firearm, 18 U.S.C. §§ 922(g)(1), 924(a)(2)
 Original Sentence:       Prison - 37 months;                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     James Goeke                        Date Supervision Commenced: April 8, 2019
 Defense Attorney:        Roger Peven                        Date Supervision Expires: April 7, 2022


                                          PETITIONING THE COURT

To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 7: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: It is alleged Mr. Auerbach violated special condition #7 of his
                        supervised release by consuming a controlled substance, methamphetamine, on or about,
                        September 11, 2020.

                        On April 19, 2019, Andrew Auerbach completed the intake process at the U.S. Probation
                        Office. Mr. Auerbach signed his judgment acknowledging that he understood his conditions
                        of supervision. On April 22, 2019, a request for modifying the condition or term of
                        supervision was filed, which added the above-noted special condition number 7.

                        On September 14, 2020, Mr. Auerbach advised that he submitted to drug testing at the
                        residential reentry center (RRC). The sample was sent to the laboratory for additional
                        testing. Mr. Auerbach indicated the results may return as a positive for methamphetamine.
                        Mr. Auerbach disclosed that he “ate” some methamphetamine on September 11, 2020, after
                        being offered it.
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          2      Special Condition # 7: You must abstain from the use of illegal controlled substances, and
                 must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                 no more than 6 tests per month, in order to confirm continued abstinence from these
                 substances.

                 Supporting Evidence: It is alleged that Mr. Auerbach violated special condition #7 of his
                 supervised release by consuming a controlled substance, methamphetamine, on or about,
                 September 22, 2020.

                 On April 19, 2019, Andrew Auerbach completed the intake process at the U.S. Probation
                 Office. Mr. Auerbach signed his judgment acknowledging that he understood his conditions
                 of supervision. On April 22, 2019, a request for modifying the condition or term of
                 supervision was filed, which added the above-noted special condition number 7.

                 On September 22, 2020, Mr. Auerbach was advised by the staff at the residential reentry
                 center that he would be required to submit to drug testing. After approximately 2 hours, Mr.
                 Auerbach had still not provided a urine specimen. The undersigned then contacted Mr.
                 Auerbach by phone. After some discussion, Mr. Auerbach admitted to consuming
                 methamphetamine early in the morning that same day.


          3      Special Condition Imposed on July 20, 2020: Upon successful completion of inpatient
                 treatment, Mr. Auerbach shall reside at a residential reentry center (RRC) for a period of up
                 to 180 days.

                 On July 20, 2020, a STEP order was filed to address violations. Mr. Auerbach was
                 remanded to the custody of the United States Marshal, and required to remain in custody
                 pending placement at an inpatient treatment facility. Following the completion of inpatient
                 treatment, Mr. Auerbach was required to reside at an RRC for a period of up to 180 days.

                 On September 2, 2020, Mr. Auerbach entered the RRC. On September 14, 2020, Mr.
                 Auerbach submitted to random drug testing at the RRC and admitted to the undersigned that
                 he had consumed methamphetamine on September 11, 2020.

                 After returning late from work one morning, Mr. Auerbach was placed on Global Positioning
                 Systems (GPS) monitoring with the RRC.

                 On September 22, 2020, at approximately 12:30 a.m., the RRC staff was contacted by Mr.
                 Auerbach’s employer and advised he was terminated from his job. The RRC staff noted
                 through the GPS tracking, that Mr. Auerbach had gone to his girlfriend’s residence instead
                 of returning to the RRC facility. They contacted Mr. Auerbach several times to direct he
                 return to the facility. He initially indicated he was going to stay at his girlfriend’s residence
                 for a period of time prior to returning to the facility.

                 Mr. Auerbach did return to the RRC on September 22, 2020. Later that same day, as noted
                 in violation number 2, he was asked to submit to drug testing. The RRC facility requires that
                 an individual submit to testing within 2 hours of being made aware of the requirement. Mr.
                 Auerbach did ultimately admit to consuming methamphetamine on September 22, 2020.

                 As a result of Mr. Auerbach’s continued noncompliance with the RRC, he is being
                 terminated from the program.
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The U.S. Probation Office respectfully recommends the Court issue a warrant requiring the offender to appear to
answer to the allegation(s) contained in this petition.



                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     09/23/2020
                                                                           s/Melissa Hanson
                                                                           Melissa Hanson
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                                           Signature of Judicial Officer

                                                                             9/23/2020
                                                                           Date
